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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

  CONSOLIDATED INDUSTRIES, LLC                        )
  d/b/a WEATHER KING PORTABLE                         )
  BUILDINGS,                                          )
                                                      )
         Plaintiff,                                   )
                                                      )   Civil Action No. 1:22-cv-01230-STA-jay
  v.                                                  )
                                                      )
  JESSE A. MAUPIN, et al.,                            )
                                                      )
         Defendants.                                  )

             MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
       MOTION TO COMPEL SUPPLEMENTATION OF DISCOVERY RESPONSES

         Defendants have submitted responses to Plaintiff Consolidated Industries, LLC d/b/a

  Weather King Portable Buildings’ (“Weather King”) written discovery requests that are

  significantly deficient and, despite multiple requests during the meet and confer process, have

  not cured the deficiencies. Therefore, Weather King requests that the Court compel Defendants

  to provide full and complete discovery responses.

                                         BACKGROUND

         Based in Paris, Tennessee, Weather King manufactures portable buildings and, until

  2022, had operations in Florida and the western United States. The “Individual Defendants” are

  all former employees who left around June 1, 2022, as part of a competing business enterprise

  they secretly formed. Led by Defendant Maupin, the Individual Defendants conspired to form

  Defendant American Barn Co., LLC (“ABCO”), and, while still employed by Weather King and

  in breach of their duty of loyalty, encouraged other Weather King employees, contractors,

  dealers, and others to cease their relationship with Weather King and join the competing business

  enterprise. They did so with the help of trade secrets and other information they stole from

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  Weather King. See Doc. 26, Am. Compl. As a result of Defendants’ scheme, Weather King was

  squeezed out of the western United States market, resulting in millions of dollars in losses.

  Weather King alleges the following causes of action: federal and state trade secrets act

  violations, breach of the duty of loyalty, interference with business relations, defamation,

  conversion, unjust enrichment, civil conspiracy, and aiding and abetting. Id.

         Weather King served Defendants with written discovery on January 25, 2023.

  Defendants responded on March 20, 2023, and, following the meet and confer process, have

  served a number of supplementations.         Defendants’ responses to both Weather King’s

  interrogatories and its requests for production, however, remain inadequate. In fact, even though

  Weather King has requested that Defendants produce a wide array of relevant documents:

      Defendants Harrod, Feagin, Gillespie, Brian Lassen, and Aleyna Lassen have not
       produced a single responsive document;

      ABCO has only produced three responsive documents;

      Mr. Maupin has only produced three responsive documents;

      Mr. Harrell has only produced two responsive documents; and

      Mr. Hershberger has only produced one responsive document.

         Defendants’ failure to produce more responsive documents is particularly troubling given

  that, on June 13, 2022—within two weeks after they left Weather King—Weather King served

  these Defendants with litigation hold letters. See Doc. 1-7. Defendants have not explained why

  they do not possess other responsive documents, and this has prompted Weather King to file a

  separate motion to compel a forensic examination of their phones and other devices.

         The Court should also compel Defendants to supplement their written discovery

  responses. Although the parties have narrowed the scope of items in dispute, the Court’s

  intervention is needed with respect to the items referenced below.

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                                               ARGUMENT

          It is well established that “[t]he scope of discovery is both broad and liberal.” Westport

  Ins. Corp. v. Wilkes & McHugh, P.A., 264 F.R.D. 368, 370 (W.D. Tenn. 2009) (citing Hickman

  v. Taylor, 329 U.S. 495, 507 (1947)). Under Fed. R. Civ. P. 37, a party may move to compel

  supplementation of deficient discovery responses.

          In response to written discovery, a party must undertake “a diligent search utilizing a

  ‘reasonable comprehensive search strategy.’” Kamps, Inc. v. Mustang Aviation, Inc., No. 5:18-

  CV-430-REW-MAS, 2019 WL 5866100, at *2 (E.D. Ky. May 3, 2019) (quoting Casale v.

  Nationwide Children's Hosp., No. 2:11-CV-1124, 2014 WL 12748231, at *2 (S.D. Ohio June 3,

  2014)). Thus, a “party does not simply get to throw up their hands in frustration,” but instead,

  “must make reasonable efforts to adhere to its obligations regarding production and discovery

  despite the inevitable inconveniences that accompany civil litigation.” Id.

  A.      Identification of Phone Numbers, Email Accounts, and Other Information

          Weather King asked each of the Individual Defendants to “[i]dentify all email accounts,

  cell phone numbers (and providers), messaging services, Google drive accounts, Dropbox

  accounts, and any other cloud-based account that you have used at any time since January 1,

  2022, through the present.” See, e.g., Ex. 1, Maupin Resp. to Ig. No. 13. Each of the Defendants

  objected to this interrogatory “as not being proportional to the needs of the case.” 1

          Weather King has a compelling need for this information, as it is pivotal to identify the

  communications and other documents relating to Defendants’ conspiracy that they exchanged

  with each other and with third parties. Evidence that the Individual Defendants (while employed

  by Weather King) were encouraging each other and other Weather King business relationships to

          1
            Id.; Ex. 2, Harrell Resp. to Ig. No. 11; Ex. 3, Harrod Resp. to Ig. No. 10; Ex. 4, Feagin Resp. to
  Ig. No. 10; Ex. 5, Gillespie Resp. to Ig. No. 10; Ex. 6, Brown Resp. to Ig. No. 10; Ex. 7, Hershberger
  Resp. to Ig. No. 10; Ex. 8, B. Lassen Resp. to Ig. No. 10; Ex. 9, A. Lassen Resp. to Ig. No. 10.
                                                       3
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  join a competing business enterprise is highly probative of Weather King’s breach of duty of

  loyalty and interference claims.     It may also demonstrate Defendants’ misappropriation of

  Weather King’s trade secrets and be pertinent to Weather King’s other claims. 2

         Weather King’s need for this information is magnified by Defendants’ failure to provide

  information responsive to other discovery requests.        For instance, when asked to identify

  communications relating to their competing business enterprise that each of the Defendants had

  with each other and other Weather King relationships, Defendants purport to recall virtually

  nothing. 3   They also claim not to possess no responsive text messages, emails, or other

  correspondence—even though Weather King served them with litigation hold letters dated

  June 13, 2022.4 Those responses cannot be reconciled with correspondence that Weather King

  has obtained from other parties. See Doc. 73-1 at 5-7. Yet, when asked to reconcile these

  discrepancies, all Defendants could muster is: “We are not required to give you an explanation of

  the facts as they are.” Ex. 11, 5/5/23 Letter, p. 2. Thus, Defendants have:

      Refused to identify their pertinent communications (feigning lack of recollection);

      Refused to produce their pertinent text messages, emails, and other written exchanges or
       explain how they disappeared;

      Moved for a protective order to preclude Weather King from obtaining their
       communications from third parties through subpoena (Doc. 33);

      Refused to cooperate in a forensic examination of their devices by a neutral expert; and

      Refused to identify the email accounts and cell phone numbers so as to further hinder
       Weather King’s ability to discover pertinent communications.

         2
            As set forth in Paragraph 48 of the Amended Complaint, Defendant Maupin was caught red-
  handed stealing and emailing himself Weather King’s sensitive financial information. Doc. 26.
          3
            See Section B below.
          4
            See Doc. 1-7; Ex. 1, Maupin Resp. to RFP Nos. 4-15; Ex. 2, Harrell Resp. to RFP Nos. 6-14;
  Ex. 3, Harrod Resp. to RFP Nos. 6-14; Ex. 4, Feagin Resp. to RFP Nos. 6-14; Ex. 5, Gillespie Resp. to
  RFP Nos. 6-14; Ex. 6, Brown Resp. to RFP Nos. 8-14; Ex. 7, Hershberger Resp. to RFP Nos. 6-14; Ex. 8,
  B. Lassen Resp. to RFP Nos. 6-14; Ex. 9, A. Lassen Resp. to RFP Nos. 6-14; Ex. 10, ABCO Resp. to
  RFP Nos. 9-17.
                                                   4
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         Any burden to provide this information is significantly outweighed by Weather King’s

  need it. See State Farm Mut. Auto. Ins. Co. v. Pointe Physical Therapy, LLC, 2017 WL

  11379855, at *10 (E.D. Mich. Dec. 15, 2017) (finding similar information to be “discoverable to

  identify [defendant’s] communications” and for “better understanding [defendant’s] connections

  with other participants in the fraud scheme” and stating that it was “troubling” that the

  information had not already been provided); Focuspoint Int'l, Inc. v. Baldeo, 2022 WL 4236227,

  at *6 (N.D. Ohio Sept. 14, 2022) (compelling disclosure of similar information).

  B.     Requests for Phone Records

         Defendants were asked to produce their phone records from January 1, 2022, through

  July 1, 2022, and each of the Defendants “object[ed] to this request as not being proportional to

  the needs of the case[.]” 5 Because Weather King alleges that Defendants unlawfully interfered

  with Weather King’s business relationships, records demonstrating the persons/entities

  Defendants communicated with during the pertinent time is material and may facilitate Weather

  King discovering other relevant information.            Indeed, after ascertaining the business

  relationships with whom Defendants were in contact at the pertinent time, Weather King will

  have the opportunity to question those witnesses about the substance of their communications.

         Additionally, this information will allow Weather King to search its own records and

  computer system for evidence of bad acts. Moreover, this information will reveal whether

  Defendants were furthering their competing business enterprise during normal business hours.

  To the extent that these Defendants were doing so while “on the clock” for Weather King and

  being paid by Weather King, this is additional evidence of wrongdoing.

         5
           Ex. 1, Maupin Resp. to RFP No. 33; Ex. 2, Harrell Resp. to RFP No. 32; Ex. 3, Harrod Resp. to
  RFP No. 30; Ex. 4, Feagin Resp. to RFP No. 30; Ex. 5, Gillespie Resp. to RFP No. 30; Ex. 6, Brown
  Resp. to RFP No. 30; Ex. 7, Hershberger Resp. to RFP No. 30; Ex. 8, B. Lassen Resp. to RFP No 30; Ex.
  9, A. Lassen Resp. to RFP No. 30; Ex. 10, ABCO Resp. to RFP No. 35.
                                                    5
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          Weather King’s need for this information is heightened by Defendants’ failure to

  produce their text messages and other correspondence and their claim that they supposedly do

  not remember the persons with whom they communicated leading up to their departure from

  Weather King or the substance of their communications. For example, Defendant Harrod states:

  “I had verbal communications with Weather King dealers and employees about my plans to

  leave,” but states “I do not recall the dates or names of the dealers and employees.” Ex. 3,

  Harrod Resp. to Ig. No. 3; see also id., Resp. to Ig. No. 5 (“I had verbal communications with

  Weather King dealers but do not recall the exact dates or parties.”). Similarly, Defendant

  Maupin has responded that “he had conversations with various dealers and drivers about his

  departure from Weather King verbally[.]” Ex. 12, Maupin Supp. Resp. to Ig. No. 5. Mr. Maupin

  has not identified a single one of these “various dealers.” Therefore, these records are needed so

  that Weather King may ascertain the persons with whom Defendants were communicating.

         Records revealing data concerning Defendants’ text messages is also highly relevant to

  whether they have engaged in spoliation of evidence. 6 None of the ten Defendants in this case

  acknowledges possessing a single responsive text message notwithstanding the fact that Weather

  King sent litigation hold demands less than two weeks after they left Weather King. See Doc.

  73-1 at 3-4. Defendants’ phone records will reveal the extent to which each of the Defendants

  has either destroyed or refused to produce responsive text messages.

  C.     Identification of Devices

         Each Individual Defendant was asked to identify “each device in your possession,

  custody, or control, including but not limited to laptop computers, desktop computers, cell

  phones (including number and provider), tablets, or other portable electronic or storage devices,


         6
           Although the phone records will not show the substance of the text messages, the records will
  show dates and parties to the messages.
                                                    6
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  that contains or contained any information that refers to, relates to, or was created by Weather

  King.” See, e.g., Ex. 1, Maupin Resp. to Ig. No. 14. Inexplicably, Defendants Maupin, Harrell,

  Feagin, Gillespie, Brown, Hershberger, and Brian Lassen responded: “None.” 7

          Given that these Defendants conducted Weather King business using their cell phones,

  they certainly should possess these devices—particularly given Weather King’s June 13, 2022,

  litigation hold letters.    During the parties’ meet and confer process, Defendants’ counsel

  suggested that his clients likely misconstrued the request to be much more limited than it is on its

  face. Nevertheless, none of the Individuals Defendants has supplemented his or her response.

          Defendant Harrod objected to the interrogatory “as not being proportional to the needs of

  the case.” Ex. 3, Harrod Resp. to Ig. No. 12. But Weather King is entitled to this information to

  further the discovery of its claims, such as its trade secrets claims. Defendants are believed to

  have used these devices to communicate and, given that Defendants claim not to possess

  responsive communications, the identification of these devices is particularly important. Indeed,

  Defendants should be compelled to produce these devices for forensic examination, and an

  identification of each pertinent device is essential to that examination.

  D.      Identification of Pertinent Communications with Weather King’s Business
          Relationships and Identification of Pertinent Relationships

          In Interrogatory Nos. 6, 8, 10, and 12, Weather King asked ABCO to identify all Weather

  King employees, independent contractors, dealers, and rental businesses who were approached

  about leaving Weather King and joining Defendants’ competing business enterprise. Ex. 10,

  ABCO Resp. to Ig. Nos. 6, 8, 10 & 12. ABCO objected to each of these interrogatories “as

  unduly broad, overly burdensome, and not proportional to the needs of the case.” Id. These


          7
            Id.; Ex. 2, Harrell Resp. to Ig. No. 12; Ex. 4, Feagin Resp. to Ig. No. 11; Ex. 5, Gillespie Resp.
  to Ig. No. 11; Ex. 6, Brown Resp. to Ig. No. 11; Ex. 7, Hershberger Resp. to Ig. No. 11; Ex. 8, B. Lassen
  Resp. to Ig. No. 11.
                                                       7
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  interrogatories go to the heart of Weather King’s allegations that Defendants unlawfully

  interfered with its business relationships. Weather King should not be forced to seek the Court’s

  intervention to require ABCO to provide this basic and critical information.

         In Interrogatory Nos. 5, 7, and 9, Weather King asked ABCO to identify its employees

  who were formerly employed by Weather King, all ABCO independent contractors who have

  been affiliated with Weather King, and all ABCO dealers who were former Weather King

  dealers. Ex. 10, ABCO Resp. to Ig. Nos. 5, 7 & 9. Weather King also requested the dates of

  their affiliation with ABCO. Id. Again, ABCO objected to each of these interrogatories “as

  unduly broad, overly burdensome, and not proportional to the needs of the case.” Id.

         Weather King has accused Defendants of unlawfully interfering with its business

  relationships and luring them to be affiliated with ABCO rather than Weather King. Thus, these

  interrogatories are highly relevant to both liability and damages. This information is also very

  important so that Weather King can identify potential witnesses. For instance, a former Weather

  King employee who joined ABCO but who is no longer with ABCO may have valuable

  information to offer. See Wyndham Vacation Resorts, Inc. v. Wesley Fin. Grp., LLC, No. 3:12-

  CV-559, 2013 WL 441892, at *2 (M.D. Tenn. Feb. 5, 2013) (compelling disclosure of similar

  information about employees and contractors). Any conceivable burden to respond to these

  interrogatories is far outweighed by the probative value of this information.

         Weather King propounded similar interrogatories on the Individual Defendants, and they

  have provided vague and largely unresponsive answers. Weather King, in particular, takes issue

  of the following responses:

                                Interrogatory No. 3 to Defendant Maupin

         3.     Identify each communication you have had with any person or entity
         (other than confidential communications solely with your legal counsel, your

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         spouse, or your accountant) between January 1, 2021, and through the day of the
         termination of your employment with Weather King (including but not limited to
         communications with lenders or potential lenders, investors or potential investors,
         business partners or potential business partners, Weather King employees,
         Weather King contractors, Weather King dealers, Weather King builders,
         Weather King drivers, other Weather King business partners, rental companies,
         and Weather King customers) relating to the creation/formation or potential
         creation/formation of, funding or potential funding of, and/or operation or
         potential operation of any business enterprise in the Portable Buildings Industry
         (other than Weather King) and, with respect to each such communication,
         identify: (a) the substance of the communication; (b) all parties to the
         communication; (c) the date of the communication; and (d) the mode of the
         communication (i.e., telephonic conversation, email, text message, etc.).

         RESPONSE: Maupin objects to this interrogatory as unduly broad, overly
         burdensome, and not proportional to the needs of the case, nor relevant to ay issue
         in the case. To collect all of this information would impose an unnecessary burden
         on Maupin. Subject to and without waiving these objections, Maupin states as
         follows: Although I do not recall the dates, I spoke with Troy Buttrey at First
         Bank (who also owns a rental company, BPS), about borrowing money to help
         start ABCO. I also spoke with the other named defendants and some dealers
         (Patrick Baize) and drivers (Manuel Rascon, Bryan Hyer) about starting ABCO. I
         also spoke with Dustin Goode. I also spoke with Doug Hines.

         SUPPLEMENTAL RESPONSE:
         Subject to and without waiving his previous objections, and incorporating his
         previous responses, Maupin states that he had verbal conversations with Troy
         Buttrey of First Bank regarding a loan to assist with the formation of ABCO
         Rentals. He does not recall the dates of the conversations.

  Ex. 1, Maupin Resp;. Ex. 12, Maupin Supp. Resp. Stating that he spoke with “some dealers”

  without specifying each dealer and without specifying the mode of the communications (i.e., text

  message) and at least indicating whether the communications pre-dated Mr. Maupin’s departure

  from Weather King does not suffice.

                             Interrogatory No. 4 to Defendant Maupin

         4.      Identify each communication you had between January 1, 2021, and
         through the day of the termination of your employment with Weather King with
         any person then-employed by Weather King relating to that person’s potential
         departure from Weather King and/or your potential departure from Weather King
         and, with respect to each such communication: (a) describe in detail the substance
         of the communication; (b) identify all parties to the communication; (c) identify

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         the date of the communication; and (d) identify the mode of the communication
         (i.e., telephonic conversation, email, text message, etc.).

         SUPPLEMENTAL RESPONSE: Subject to and without waiving his previous
         objections, and incorporating his previous responses, Maupin states although I
         don’t recall the dates, I spoke with all of the listed defendants regarding the
         formation of ABCO.

  Ex. 12, Maupin Supp. Resp.        This vague response does not detail the substance of each

  communication, the parties to each communication, or the mode of communication as requested.

                              Interrogatory No. 5 to Defendant Maupin

         5.      Identify each communication you had between January 1, 2021, and the
         day of the termination of your employment from Weather King with any person
         or entity who, at the time of the communication, was a Weather King dealer,
         driver, customer, lender, landlord, rental company, or other business partner
         relating to your potential departure from Weather King and, with respect to each
         such communication: (a) describe in detail the substance of the communication;
         (b) identify all parties to the communication; (c) identify the date of the
         communication; and (d) identify the mode of the communication (i.e., telephonic
         conversation, email, text message, etc.).

         SUPPLEMENTAL RESPONSE: Subject to and without waiving his previous
         objections, and incorporating his previous responses, Maupin states that he had
         conversations with various dealers and drivers about his departure from Weather
         King verbally and that the does not recall the dates of such conversations.

  Id. Mr. Maupin’s vague reference to “various dealers and drivers” does not come remotely close

  to complying with his discovery obligations. Nor does he “describe in detail the substance” of

  each communication or provide the other requested information, despite Weather King’s

  multiple requests that he cure these deficiencies. Simply stating that he “does not recall the dates

  of such conversations” also is woefully insufficient. Mr. Maupin, at the very least, should be

  able to identify whether the communications took place while he still worked for Weather King.

                         Interrogatory Nos. 4 & 5 to Defendant Hershberger

         4.     Identify each communication you had between January 1, 2021, and
         through the day of the termination of your employment with Weather King with
         any person then-employed by Weather King relating to that person’s potential

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         departure from Weather King and/or your potential departure from Weather King
         and, with respect to each such communication: (a) describe in detail the substance
         of the communication; (b) identify all parties to the communication; (c) identify
         the date of the communication; and (d) identify the mode of the communication
         (i.e., telephonic conversation, email, text message, etc.).

         RESPONSE: Hershberger objects to this interrogatory as unduly broad, overly
         burdensome, and not proportional to the needs of the case, nor relevant to any
         issue in the case. To collect all of this information would impose an unnecessary
         burden on Hershberger. Subject to and without waiving those objections,
         Hershberger states as follows: I met and spoke with builders and drivers from the
         Peoria plant on two separate occasions to notify them of my departure. In those
         communications I discussed my future opportunities.

         5.      Identify each communication you had between January 1, 2021, and the
         day of the termination of your employment from Weather King with any person
         or entity who, at the time of the communication, was a Weather King dealer,
         driver, customer, lender, landlord, rental company, or other business partner
         relating to your potential departure from Weather King and, with respect to each
         such communication: (a) describe in detail the substance of the communication;
         (b) identify all parties to the communication; (c) identify the date of the
         communication; and (d) identify the mode of the communication (i.e., telephonic
         conversation, email, text message, etc.).

         RESPONSE: Hershberger objects to this interrogatory as unduly broad, overly
         burdensome, and not proportional to the needs of the case, nor relevant to any
         issue in the case. To collect all of this information would impose an unnecessary
         burden on Hershberger. Subject to and without waiving these objections,
         Hershberger states as follows: I met and spoke with builders and drivers from the
         Peoria plant on two separate occasions to notify them of my departure. In those
         communications I discussed my future opportunities.

  Ex. 7, Hershberger Resp. The Court should compel Mr. Hershberger to identify the “builders

  and drivers” with whom he spoke and the substance and timing of his communications—

  particularly in terms of whether they were before or after his resignation from Weather King.

  This information is highly relevant, and Mr. Hershberger’s vague response does not suffice.

                              Requests for Production to Hershberger

         6.    All correspondence and other documents exchanged with any former
         Weather King employees between January 1, 2022, and July 1, 2022.




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         RESPONSE: Hershberger objects to this request as being not proportional to the
         needs of the case.

         7.    All correspondence and other documents exchanged with any then-current
         Weather King employees after January 1, 2022.

         RESPONSE: Hershberger objects to this request as being not proportional to the
         needs of the case.

                                                 ***
         14.     All non-privileged correspondence and other documents related to:
         (a) any of the Defendants’ departure from Weather King;
         (b) any of the Defendants’ communications with any Weather King employees
         about the possibility of leaving Weather King or joining ABCO;
         (c) any of the Defendants’ communications with any Weather King builders,
         dealers, drivers, rental companies, or contractors, about the possibility of doing
         business with ABCO or ceasing doing business with Weather King;
         (d) any claims or potential claims made by Weather King against any of the
         Defendants;
         (e) any of the Defendants’ possession of or use of any Weather King property; or
         (f) derogatory remarks made by any of the Defendants relating to Weather King;

         RESPONSE: Hershberger objects to this request as being overly broad and
         unduly burdensome and not proportional to the needs of the case. To collect all
         these documents would impose an unnecessary burden on Hershberger.

  Ex. 7, Hershberger Resp. During the meet and confer process, Defendants appeared to concede

  that the information requested in Request Nos. 6 and 7 is discoverable and stated: “We are

  checking.” Ex. 11, 5/5/23 Letter, p. 5. 8 Mr. Hershberger, however, has not supplemented his

  response or provided any responsive documents.

                                 Interrogatory No. 4 to Defendant Feagin

         4.        Identify each communication you had between January 1, 2021, and
         through the day of the termination of your employment with Weather King with
         any person then-employed by Weather King relating to that person’s potential
         departure from Weather King and/or your potential departure from Weather King
         and, with respect to each such communication: (a) describe in detail the substance
         of the communication; (b) identify all parties to the communication; (c) identify
         the date of the communication; and (d) identify the mode of the communication
         (i.e., telephonic conversation, email, text message, etc.).


         8
             Mr. Hershberger, however, has stood by his objections to Request No. 14. Id.
                                                      12
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          RESPONSE: Feagin objects to this interrogatory as unduly broad, overly
          burdensome, and not proportional to the needs of the case, nor relevant to any
          issue in the case. To collect all of this information would impose an unnecessary
          burden on Feagin. Subject to and without waiving those objections, Feagin states
          as follows: I recall speaking to someone at Weather King about a job offer. No
          other communications.

  Ex. 4, Feagin Resp. This response is woefully deficient in that it does not even identify the

  parties, timing, and substance of the communication, and other requested information.

          Defendant Harrod likewise gave minimally responsive answers to the same crucial

  questions, stating that he “had verbal communications with Weather King dealers and employees

  about [his] plans to leave,” and that he “do[es] not recall the dates or names of the dealers and

  employees.” Ex. 3, Harrod Resp. to Ig. No. 3. And when asked to identify and describe

  communications he had with other then-Weather King employees about his departure from

  Weather King, Mr. Harrod responded only that he “had verbal communications on this issue with

  Logan Feagin and Jesse Maupin but do[es] not recall the dates.” Id. at Resp. to Ig. No. 4; see also

  id. at Resp. to Ig. No. 5 (“I had verbal communications with Weather King dealers [about my

  departure from Weather King] but do not recall the exact dates or parties.”). 9

          In similar fashion, Defendant Stephanie Gillespie admitted that she spoke with Defendant

  Maupin about leaving Weather King and forming a competing business, but she claims that she

  does not recall the dates or the “exact substance of the conversation.” Ex. 5, Gillespie Resp. Ig.

  Nos. 3-4. 10 These discovery requests are central to Weather King’s claims, and the Court should

  compel Defendants to provide full and complete responses.

  E.      Information Relating to Funding Sources and Potential Funding Sources



          9
              Mr. Harrod also objected to each of these interrogatories as overly broad, unduly burdensome,
  and irrelevant. See id., Resp. to Ig. Nos. 3-5.
           10
              She also objected on the grounds that the interrogatories are overly broad, unduly burdensome,
  and irrelevant. Id.
                                                     13
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            Weather King asked Mr. Maupin to identify “each person and/or entity with whom you

  have discussed funding, potential funding, or providing other financial support to or for any

  business enterprise in the Portable Business Industry since January 1, 2021, whether as an

  investor, a lender, or in any other capacity.” See Ex. 1, Maupin Resp. to Ig. No. 6. Mr. Maupin

  objected “to this interrogatory as not being proportional to the needs of the case.” Id.

            This information is important for several reasons. Mr. Maupin accessed Weather King’s

  sensitive financial information without authorization and emailed it to his personal email

  address. See Doc. 26, ¶ 48. Weather King believes that Mr. Maupin used this confidential

  information as part of his attempts to obtain funding for Defendants’ competing business

  enterprise. Thus, this information is relevant to Weather King’s trade secrets claims.

            In addition, it is quite possible that Mr. Maupin (and other Defendants) told potential

  funding sources that Defendants were already in the process of lining up Weather King

  employees, dealers, builders, drivers, and other business relationships before their departure

  from Weather King—in blatant breach of their duty of loyalty—in connection with their funding

  requests. Some of this evidence already exists. See, e.g., Doc. 73-9 (6/13/22 text from B. Lassen

  stating that “ALL DEALERS are going to ABC and 95% of the drivers as well”). It is likely that

  Defendants made similar statements to their lenders/investors and potential lenders/investors.

  Thus, this interrogatory is relevant to Weather King’s breach of duty of loyalty and interference

  claims.     Any minimal burden on Mr. Maupin in responding to this interrogatory is far

  outweighed by the importance of the evidence to Weather King’s claims.

            Moreover, ABCO has provided incomplete information about loans and other financial

  support. ABCO stated that FirstBank is the only entity that has loaned money or provided other

  financial support. Ex. 13, ABCO Supp. Resp. to Ig. Nos. 3 & 4. ABCO, however, produced a



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  document showing notes payable to three rental companies and an “EFA-Forklift.” See Ex. 14.

  And although Weather King requested that ABCO produce “[a]ll agreements between you and

  any dealers, builders, lenders, investors, or rental companies in the Portable Buildings Industry,”

  ABCO responded: “None.” Ex. 10, ABCO Resp. to RFP No. 32.

         Indeed, ABCO has not provided documents relating to any of these loans. Nor has it

  provided documents related to loans it apparently made to certain builders who used to be

  affiliated with Weather King. See Ex. 14 (referencing notes receivable to Arizona Barn Co LLC,

  Benjamin Miller, and others). 11 Indeed, it apparently wants Weather King and the Court to

  believe that no responsive documents exist. See Ex. 10, ABCO Resp. to RFP No. 32.

         Likewise, the following interrogatory response by Defendant Harrell is also deficient:

         3.      Identify each communication you have had with any person or entity
         (other than confidential communications solely with your legal counsel, your
         spouse, or your accountant) between January 1, 2021, and through the day of the
         termination of your employment with Weather King (including but not limited to
         communications with lenders or potential lenders, investors or potential
         investors, business partners or potential business partners, Weather King
         employees, Weather King contractors, Weather King dealers, Weather King
         builders, Weather King drivers, other Weather King business partners, rental
         companies, and Weather King customers) relating to the creation/formation or
         potential creation/formation of, funding or potential funding of, and/or operation
         or potential operation of any business enterprise in the Portable Buildings
         Industry (other than Weather King) and, with respect to each such
         communication, identify: (a) the substance of the communication; (b) all parties
         to the communication; (c) the date of the communication; and (d) the mode of
         the communication (i.e., telephonic conversation, email, text message, etc.).

         RESPONSE: Harrell objects to this interrogatory as unduly broad, overly
         burdensome, and not proportional to the needs of the case, nor relevant to ay
         issue in the case. To collect all of this information would impose an unnecessary
         burden on Harrell.

         SUPPLEMENTAL RESPONSE: Subject to and without waiving his previous
         objections, Harrell states that he had no conversations regarding loans.

         11
           Weather King believes that ABCO loaned Weather King’s builders money to induce them to
  leave Weather King and join ABCO. Therefore, the terms of these loans and the timing are probative to
  Weather King’s claims.
                                                   15
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  Ex. 2, Harrell Resp.; Ex. 15, Harrell Supp. Resp. Weather King’s interrogatory is much broader

  than simply asking about “loans.” Weather King is entitled to the requested information, and

  Mr. Harrell should be compelled to provide a full and complete responses.

  F.     Compensation Information

         Weather King requested that each Defendant produce “[a]ll documents evidencing

  distributions, salary, wages, bonuses, commissions, or other compensation paid or accrued to you

  by any entity in the Portable Buildings Industry, other than Weather King, from January 1, 2021,

  through the date of response.” See, e.g., Ex. 1, Maupin Resp. to RFP No. 27. Defendant Maupin

  “object[ed] to this request as not being proportional to the needs of the case but is willing to

  discuss this response with opposing counsel,” id., and Defendants Harrell, Feagin, Gillespie, and

  Hershberger raised similar objections. 12

         This information is relevant for multiple reasons. First, to the extent the Individual

  Defendants were being compensated by ABCO or another competing business enterprise while

  they were still employed by Weather King, the information is probative to Weather King’s

  breach of duty of loyalty claims. Further, to the extent that ABCO (with knowledge of Weather

  King’s employees’ salaries/wages) offered Weather King personnel more money to lure them

  away from Weather King, this is probative to Weather King’s interference and other claims.

         This information is also relevant to Weather King’s damages. An element of damages

  for Defendants’ misappropriation of trade secrets claims is unjust enrichment.             See, e.g.,

  Hamilton-Ryker Group, LLC v. Keymon, 2010 WL 323057, at *14 (Tenn. Ct. App. Jan. 28,

  2010). Similarly, disgorgement of profits is an element of damages for a breach of duty of

  loyalty claim. See, e.g., Appalachian Contracting Co. v. Cox, 403 F. Supp. 176, 180 (E.D. Tenn.

         12
           Ex. 2, Harrell Resp. to RFP No. 26; Ex. 4, Feagin Resp. to RFP No. 24; Ex. 5, Gillespie Resp.
  to RFP No. 24; Ex. 7, Hershberger Resp. to RFP No. 24.
                                                   16
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  1975). This information is also pertinent to Weather King’s punitive damages claims. See

  Hodges v. S.C. Toof & Co., 833 S.W.2d 896, 901–02 (Tenn. 1992) (a “defendant’s financial

  affairs” and “[w]hether defendant profited from the activity” are germane to punitive damages).

          During the meet and confer process, Weather King advised Defendants that, for the time-

  being, this information may be provided in summary form. The Individual Defendants, however,

  have refused to provide any responsive information.

          Defendants Harrod, Brown, Brian Lassen, and Aleyna Lassen claim to possess no

  documents responsive to this request. 13 That representation makes no sense insofar as these

  Defendants have admitted being involved in the industry. For instance, Mr. Harrod has stated “I

  am a salesman for American Barn and have been one since its inception.” 14 The Court should

  compel each of the Individual Defendants to provide documents responsive to this request.

  G.      Information Relating to Appointments, Etc.

          Weather King requested production of “[a]ll documents reflecting notes, diaries, journals,

  expense records, day planners, calendars, and/or other record(s) maintained by you that record,

  refer, or otherwise relate to your activities, including, but not limited to any appointment,

  meeting, interview, placement, or other business activities in the Portable Buildings Industry

  from January 1, 2022, through July 1, 2022.” See, e.g., Ex. 2, Harrell Resp. to RFP No. 30.

  Defendants Harrell and ABCO objected as “unduly broad, overly burdensome, and not

  proportional to the needs of the case.” Id.; Ex. 10, ABCO Resp. to RFP No. 34.

          The requested information is highly relevant to Weather King’s claims, particularly

  insofar as it may show Weather King business relationships with whom Defendants were


          13
             See Ex. 3, Harrod Resp. to RFP No. 24; Ex. 6, Brown Resp. to RFP No. 24; Ex. 8, B. Lassen
  Resp. to RFP No. 24; Ex. 9, A. Lassen Resp. to RFP No. 24.
          14
             Ex. 3, Harrod Resp. to Ig. No. 2; see also Ex. 6, Brown Response to Ig. No. 2; Ex. 8, B. Lassen
  Resp. to Ig. No. 2; Ex. 9, A. Lassen Resp. to Ig. No. 2.
                                                     17
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  meeting and the timing of those meetings. Notes related to those activities may also reveal

  information highly probative to Weather King’s claims. The Court should compel ABCO and

  Mr. Harrell to produce documents responsive to these requests.

  H.      Pertinent Recordings

          Defendant Feagin objected to a request for “[a]ll photographs, video, and/or audio

  recordings of Weather King property and/or current or former Weather King employees or

  officers,” on the basis that is “not being proportional to the needs of the case.” Ex. 4, Feagin

  Resp. to RFP No. 27. Such recordings are potentially relevant as, for instance, they may show

  interactions that are pertinent to Weather King’s claims or show Defendants’ possession of

  Weather King’s trade secrets. Tthe Court should compel compliance with this request.

  I.      Defendant Harrell’s Interference with Florida Dealers

          Weather King asked Defendant Harrell to “[i]dentify all then-current Weather King

  dealers to whom you suggested should demand a higher commission from Weather King, and

  with respect to each such dealer: (a) specify the date of the communication; (b) specify all parties

  to the communication; (c) specify the mode of the communication (i.e., telephonic or text); (d)

  set forth the substance of the communication; and (e) identify all documents relating to the

  communication.” Ex. 15, Harrell Supp. Resp. to Ig. No. 7. 15 Consistent with Defendants’ tack

  of only providing minimal and evasive responsive information (and only after repeated demands

  for supplementation), Mr. Harrell responded: “Subject to and without waiving his previous

  objections, Harrell states that he had conversations verbally with the following dealers about the

  subject matter of this interrogatory: Triangle Barns and Okeechobee Storage Solutions.” Id. 16


          15
             Although Defendants are not doing business in Florida, Mr. Harrell, out of spite, chose to
  attempt to disrupt Weather King’s operations in Florida as well.
          16
             Mr. Harrell initially “object[ed] to this interrogatory as unduly broad, overly burdensome, and
  not proportional to the needs of the case.” Ex. 2, Harrell Resp. to Ig. No. 7.
                                                     18
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          The Court should compel Mr. Harrell to fully respond to this interrogatory, stating the

  dates and modes of the conversations, the specific individuals involved, and, most importantly,

  the specific substance of each conversation. Merely stating “the subject matter” and not even

  identifying any persons falls far short of complying with his discovery obligations.

  J.     Engineer Contact Information

         Weather King asked ABCO to “[i]dentify each person or entity with whom ABCO has

  communicated after January 1, 2022, about the possibility of preparing blueprints, drawings, or

  other engineering plans pertaining to the Portable Buildings Industry.” Ex. 10, ABCO’s Resp. to

  Ig. No. 15. ABCO responded: “Kevin Nolan, Phoenix Engineering, Robertson Engineering,

  Frost Engineering, Richard Steward, EZE Group.” Id. No contact information was provided,

  and therefore, Weather King asked for this information by follow-up letter. Defendants’ counsel

  responded by stating, “[n]o contact information was requested,” prompting Weather King’s

  counsel to note that the term “Identify” is defined in the interrogatories. Ex. 18, 4/14/23 Letter,

  p. 7; Ex. 17, 4/19/23 Letter, p. 3; Ex. 19, Pl.’s discovery to ABCO, p. 3. ABCO, nevertheless,

  has refused to supplement its response.

         Weather King should not be forced to guess who, of the thousands of people in the

  United States named “Richard Steward,” ABCO interacted with. Nor should it be forced to

  resort to seeking the Court’s intervention to obtain basic, discoverable information such as this.

  K.     Spreadsheet Referenced in Email

         Defendant Brown is the only Defendant to produce any correspondence in response to

  Weather King’s discovery requests. Mr. Brown produced one email that references an attached

  spreadsheet. See Ex. 16. However, the spreadsheet has not been produced. Beginning April 19,

  2023, Weather King has repeatedly requested that the spreadsheet be produced. See Ex. 17, p. 6.



                                                  19
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  More than two months later, the spreadsheet, however, still has not been produced, and therefore,

  Weather King is unnecessarily forced to seek this Court’s intervention.

  L.     Recipients of Text Message Sent from Defendant Harrod

         On June 1, 2022—one day after Defendant Stephanie Gillespie abruptly resigned—

  Defendant Harrod sent a text message to a number of Weather King’s business relationships,

  stating: “Hey guys Stephanie walked out today and quit WeatherKing the new girl Shelby don’t

  say anything to regarding the future.” Doc. 1-1, Doc. 26, ¶ 28. Asked to identify all persons

  “who were recipients of the text message,” Mr. Harrod simply responded: “I do not recall.” Ex.

  3, Harrod Resp. to Ig. No. 11.

         Particularly given that Weather King issued a litigation hold demand to Mr. Harrod on

  June 1, 2022, presumably all Mr. Harrod would need to do is look in his phone and identify the

  recipients to the text message. See Kamps, Inc., 2019 WL 5866100 at *2 (holding that party a

  party must undertake “a diligent search”)     It appears that Mr. Harrod either is not complying

  with his discovery obligations or has destroyed material evidence. The Court should compel Mr.

  Harrod to provide information responsive this interrogatory or explain the circumstances in

  which the text message has been deleted.

                                           CONCLUSION

         For the foregoing reasons, Weather King respectfully requests that the Court compel

  Defendants to provide full and complete responses to the interrogatories and requests for

  production referenced above. Due to the number and complexity of the items at issue, Weather

  King further requests an in-person hearing in accordance with Local Rule 7(d). Weather King

  reserves its right to seek attorney’s fees and costs in accordance with Fed. R. Civ. P. 37(a)(5).




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                                                   Respectfully submitted,

                                                   BUTLER SNOW LLP

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 24, 2023, I filed the foregoing with the Court using the ECF

  system, which will provide notice and a copy to counsel of record:

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